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             UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE
                   WESTERN DIVISION
_________________________________________________________________


LATASHA TENNIAL,                              JUDGMENT IN CIVIL CASE
Plaintiff,

V.                                            CASE No.2:16cv2913-cgc

BANK OF AMERICA, N.A.,
SUCCESSOR BY MERGER TO
BAC HOME LOANS SERVICING,
LP, f/k/a COUNTRYWIDE
HOME LOANS SERVICING, L.P.,
And CARRINGTON MORTGAGE
SERVICES, LLC.
Defendant
_________________________________________________________________


     DECISION BY COURT. This action came to consideration before
the Court. The issues have been considered and a decision has been
rendered.

     IT IS SO ORDERED AND ADJOURNED in accordance with the Order
Granting Bank of America, N.A.’s Motion for Judgment on the
Pleadings, entered on November 27, 2017, this cause is dismissed
with prejudice.



APPROVED:

s/Charmiane G. Claxton
CHARMIANE G. CLAXTON
UNITED STATES MAGISTRATE JUDGE

                                        s/Thomas M. Gould
Date: December 6, 2017                  Clerk of Court


                                        s/Chris Sowell
                                        (By)Deputy Clerk
